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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

UNITED STATES OF AMERICA



VS.                                            CASE NO: 6:14-cr-163-Orl-40GJK

PATRICE A. JACKSON




                              ORDER AND NOTICE
                           OF SHOW CAUSE HEARING
      This cause comes before the Court on a Report and Recommendation (Doc. No.

112), entered by the Magistrate Judge after conducting a Final Probation Revocation

Hearing pursuant to Local Rule 6.01(c)(16) on April 26, 2016.

      After an independent de novo review of the record in this matter, noting that the

(14) day objection period has expired and no objections were filed, the Court agrees

entirely with the findings of fact and conclusions of law in the Report and

Recommendation.

      Therefore, it is ORDERED as follows:

      1.     The Report and Recommendation entered April 26, 2016 (Doc. No. 112) is

             ADOPTED AND CONFIRMED and made a part of this Order.

      2.     Defendant shall personally appear on May 19, 2016 at 10:30 a.m. before

             the Honorable Paul G. Byron, United States District Judge, in Courtroom

             #4B, Fourth Floor, U.S. District Court, 401 West Central Blvd., Orlando,
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            Florida and shall show cause why probation or supervised release should

            not be revoked.

      DONE and ORDERED in Orlando, Florida this 16th day of May 2016.




The United States Attorney is responsible for issuing any necessary writ to obtain
defendant's presence at this hearing. Should the U.S. Marshal determine that a writ
is necessary to obtain defendant's presence and that no writ has been received,
the U.S. Marshal shall immediately advise the U.S. Attorney to deliver such writ in
sufficient time to cause defendant's presence at such hearing.



Copies to:
United States Magistrate Judge
Counsel for Defendant
United States Attorney
United States Marshal Service
United States Probation Office
Courtroom Deputy Clerk




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